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 Fill in this information to identify the case:

  United States Bankruptcy Court for the:
  District of Delaware

  Case number (If known):                                  Chapter 11
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.    Debtor’s name                       Gustine Sixth Avenue Associates, Ltd.


 2.    All other names debtor used
       in the last 8 years

       Include any assumed names,
       trade names, and doing business
       as names


3.    Debtor’s federal Employer
      Identification Number (EIN)           25 – 1780731




4.    Debtor’s address                    Principal place of business                                  Mailing address, if different from principal place
                                                                                                       of business

                                          300 Sixth Ave.                                        _
                                          Number         Street                                        Number       Street



                                                                                                _
                                                                                                       P.O. Box

                                          Pittsburgh                       PA        15222
                                          City                             State     ZIP Code          City                         State          ZIP Code

                                                                                                       Location of principal assets, if different from
                                                                                                       principal place of business
                                          Allegheny County
                                          County
                                                                                                       Number       Street




                                                                                                       City                          State         ZIP Code




5.    Debtor’s website (URL)                        www.gnc.com

                                                 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
6.    Type of debtor
                                                 Partnership (excluding LLP)
                                                 Other. Specify:


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 Debtor          Gustine Sixth Avenue Associates, Ltd.                                _                   Case number (if known)
                 Name


                                               A. Check one:
 7.    Describe debtor’s business
                                                Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                Railroad (as defined in 11 U.S.C. § 101(44))
                                                Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                                None of the above

                                               B. Check all that apply:

                                                Tax-exempt entity (as described in 26 U.S.C. § 501)
                                                Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                   § 80a-3)
                                                Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes
                                                         4461

 8.    Under which chapter of the              Check one:
       Bankruptcy Code is the
       debtor filing?                           Chapter 7
                                                Chapter 9
                                                Chapter 11. Check all that apply:
       A debtor who is a “small                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
       business debtor” must check                                        aggregate noncontingent liquidated debts (excluding debts owed to insiders or
       the first sub-box. A debtor as                                     affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
       defined in § 1182(1) who                                           recent balance sheet, statement of operations, cash-flow statement, and
                                                                          federal income tax return or if any of these documents do not exist, follow the
       elects to proceed under                                            procedure in 11 U.S.C. § 1116(1)(B).
       subchapter V of chapter 11
       (whether or not the debtor is a                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate
       “small business debtor”) must                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                          than $7,500,000. and it chooses to proceed under Subchapter V of Chapter 11..
       check the second sub-box.
                                                                          If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                          operations, cash-flow statement, and federal income tax return or if any of these
                                                                          documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                      
                                                                       A plan is being filed with this petition.
                                                                         Acceptances of the plan were solicited prepetition from one or more classes of
                                                                          creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                         The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                          Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                          Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                          for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                          12b-2.
                                                Chapter 12
  9.   Were prior bankruptcy cases              No
       filed by or against the debtor
       within the last 8 years?                 Yes.      District                                When                     Case number
                                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                      District                                When                     Case number
                                                                                                          MM / DD / YYYY




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                         Page 2
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 Debtor            Gustine Sixth Avenue Associates, Ltd.                            _                  Case number (if known)
                  Name

  10.   Are any bankruptcy cases
        pending or being filed by a
        business partner or an                    No
        affiliate of the debtor?                  Yes. Debtor See Rider 1                                              Relationship    Affiliate
        List all cases. If more than 1,                     District                                                     When
        attach a separate list.                                                                                                         MM /   DD     / YYYY
                                                            Case number, if known

 11.    Why is the case filed in this            Check all that apply:
        district?
                                                  Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                     immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                     district.

                                                  A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.    Does the debtor own or have               No
        possession of any real                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                              It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                               What is the hazard?

                                                              It needs to be physically secured or protected from the weather.

                                                              It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                               attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                               assets or other options).

                                                              Other



                                                           Where is the property?
                                                                                        Number       Street

                                                                                                                                                                   _
                                                                                                                                 _
                                                                                        City                                           State        ZIP Code


                                                           Is the property insured?

                                                            No
                                                            Yes. Insurance agency

                                                                    Contact name                                                                                   _

                                                                    Phone




                Statistical and administrative information



  13.   Debtor’s estimation of                   Check one:
        available funds                           Funds will be available for distribution to unsecured creditors.
                                                  After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                  1-49                              1,000-5,000                             25,001-50,000
  14.   Estimated                                 50-99                             5,001-10,000                            50,001-100,000
        number of
        creditors
                                                  100-199                           10,001-25,000                           More than 100,000
        (consolidated)                            200-999


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  Debtor        Gustine Sixth Avenue Associates, Ltd.                                 _                 Case number (if known)
                Name
                                                                                                                            
  15. Estimated                                $0-$50,000                             $1,000,001-$10 million                $500,000,001-$1 billion
consolidated assets                            $50,001-$100,000                       $10,000,001-$50 million                $1,000,000,001-$10 billion
                                               $100,001-$500,000                      $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                    $100,000,001-$500 million              More than $50 billion

  16. Estimated
                                               $0-$50,000                             $1,000,001-$10 million                 $500,000,001-$1 billion
  consolidated liabilities                     $50,001-$100,000                       $10,000,001-$50 million                $1,000,000,001-$10 billion
                                               $100,001-$500,000                      $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                    $100,000,001-$500 million              More than $50 billion


              Request for Relief, Declaration, and Signatures


  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
             $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


  17.   Declaration and signature of              The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of
                                                   petition.
        debtor
                                                  I have been authorized to file this petition on behalf of the debtor.

                                                  I have examined the information in this petition and have a reasonable belief that the information is true and
                                                   correct.


                                              I declare under penalty of perjury that the foregoing is true and correct.

                                                  Executed on    06/23/2020
                                                                 MM / DD / YYYY


                                              /s/ Tricia Tolivar                                                                   Tricia Tolivar
                                                  Signature of authorized representative of debtor             Printed name


                                                  Title Authorized Signatory


        Signature of attorney
  18.
                                              /s/ Kara Hammond Coyle                                         Date          06/23/2020

                                                   Signature of attorney for debtor                                         MM      / DD / YYYY



                                                  Kara Hammond Coyle                                                                                              _
                                                  Printed name

                                                  Young Conaway Stargatt & Taylor, LLP                                                                            _
                                                  Firm name

                                                  Rodney Square, 1000 North King Street                                                                           _
                                                  Number         Street


                                                  Wilmington                                                        DE                19801
                                                  City                                                              State            ZIP Code


                                                  (302) 571-6600                                                            kcoyle@ycst.com
                                                  Contact phone                                                     Email address


                                                  No. 4410                                                          DE
                                                  Bar number                                         State




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                                                 RIDER 1

    PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in the
United States Bankruptcy Court for the District of Delaware. A motion will be filed with the Court
requesting that the chapter 11 cases of these entities be jointly administered for procedural
purposes only.

 Entity Name                                            Federal Employer Identification Number
                                                        (EIN)

 GNC Holdings, Inc.                                     XX-XXXXXXX

 GNC Parent LLC                                         XX-XXXXXXX

 GNC Corporation                                        XX-XXXXXXX

 General Nutrition Centers, Inc.                        XX-XXXXXXX

 General Nutrition Corporation                          XX-XXXXXXX

 General Nutrition Investment Company                   XX-XXXXXXX

 Lucky Oldco Corporation                                XX-XXXXXXX

 GNC Funding Inc.                                       XX-XXXXXXX

 GNC International Holdings Inc.                        XX-XXXXXXX

 GNC China Holdco LLC                                   XX-XXXXXXX

 GNC Headquarters LLC                                   XX-XXXXXXX

 Gustine Sixth Avenue Associates, Ltd.                  XX-XXXXXXX

 GNC Canada Holdings, Inc.                              XX-XXXXXXX

 General Nutrition Centres Company                      898190939 (Canadian)

 GNC Government Services, LLC                           XX-XXXXXXX

 GNC Puerto Rico Holdings, Inc.                         XX-XXXXXXX

 GNC Puerto Rico, LLC                                   XX-XXXXXXX




                     Rider 1 to Voluntary Petition for Non-Individuals Filing for Bankruptcy
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                                      WRITTEN CONSENT

                                     OF THE PARTNERS OF

                       GUSTINE SIXTH AVENUE ASSOCIATES, LTD.

                                            June 23, 2020

        The undersigned, being the sole general partner (the “General Partner”) and sole limited
partner (the “Limited Partner” and collectively with the General Partner, the “Partners”) of
Gustine Sixth Avenue Associates, Ltd., a Pennsylvania limited partnership (the “Partnership”),
acting pursuant to the applicable provisions of the Pennsylvania Uniform Limited Partnership Act
of 2016 and the Partnership’s agreement of limited partnership, hereby consent in writing to take
the following actions and adopts the following resolutions by written consent (the “Written
Consent”) as if such resolutions had been duly adopted at a meeting of the Partners duly called
and legally held and hereby directs that the original of this Written Consent be filed with the
proceedings of the Partnership:


Approval of Bankruptcy Filing

        WHEREAS, the General Partner is duly authorized to manage the business and affairs of
the Partnership;

        WHEREAS, the General Partner has reviewed and considered the materials presented by
the management and financial and legal advisors of the Partnership regarding the potential present
and future liabilities of the Partnership, the strategic alternatives available to it, and the impact of
the foregoing on the Partnership’s business;

        WHEREAS, the General Partner has reviewed and evaluated the proposed Restructuring
Support Agreement (substantially in the form attached hereto as Exhibit A, the “RSA”) and the
transactions contemplated thereby; and

       WHEREAS, the General Partner has determined that it is in the best interests of the
Partnership, its creditors, interest holders, and other interested parties to enter into the RSA,
commence a case (the “Chapter 11 Case”) under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) and to make an application under Part IV of the Companies Creditors’
Arrangement Act, R.S.C. 1985, c. C-36, as amended (the “CCAA”).

         NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the General Partner,
it is desirable and in the best interests of the Partnership, its creditors, interest holders, and other
interested parties, that the Partnership seek relief under the provisions of Chapter 11 of the
Bankruptcy Code; and it is further

        RESOLVED, that each “Authorized Person” (as defined below) shall be, and hereby is,
authorized and directed on behalf of the Partnership to commence a Chapter 11 case by executing,
verifying and delivering a voluntary petition in the name of the Partnership under Chapter 11 of


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the Bankruptcy Code and causing the same to be filed with the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) in such form and at such time as the
Authorized Person executing said petition shall determine; and it is further

        RESOLVED, that each Authorized Person be, and each hereby is, authorized to swear any
and all affidavits or execute any documentation or take any and all actions which they may deem
necessary or proper in support of or in connection with the Partnership’s application under the
CCAA and the CCAA proceedings (the “CCAA Case”), and to retain and employ attorneys,
information officers, monitors, investment bankers, accountants, financial advisors and any other
professionals which they may deem necessary or proper to enable a successful restructuring of the
Partnership; and it is further

       RESOLVED, that each Authorized Person shall be, and hereby is, authorized, directed
and empowered, to act in the name of the General Partner, for and on its own behalf, and in the
General Partner’s capacity as the sole general partner of the Partnership, for and on behalf of the
Partnership, to take all actions necessary or appropriate for the Partnership to obtain post-petition
financing, according to the terms negotiated by such Authorized Person, and to effectuate the
foregoing, to enter into, execute, deliver and perform such loan agreements, documents, notes,
guaranties, security agreements, pledge agreements and all other documents, agreements or
instruments (collectively, the “Credit Documents”) as may be deemed necessary or appropriate
by the Authorized Person; and it is further

        RESOLVED, that the RSA and the agreements and transactions contemplated thereby are
in the best interests of the Partnership, its creditors, interest holders, and other interested parties,
and the General Partner hereby authorizes and approves the execution and delivery of the RSA by
the Partnership; and it is further

       RESOLVED, that each other agreement, document and instrument contemplated by the
RSA (the “Ancillary Documents”) to be executed or delivered by the Partnership is hereby
authorized and approved; and it is further

       RESOLVED, that each Authorized Person shall be, and hereby is, authorized, directed
and empowered, on behalf of and in the name of the Partnership, to document, execute, and deliver
the RSA, as the same may be amended, supplemented, or modified, as such Authorized Persons
may consider necessary, proper, or desirable, and in the best interests of the Partnership and its
stakeholders generally, consistent with the intent of these resolutions, the execution thereof by
such Authorized Persons to be conclusive evidence of such determination, and to negotiate,
document, execute, and deliver such other documents and to take any and all such further action
which such Authorized Person determines to be necessary or appropriate in order to effectuate the
general intent of the foregoing resolutions, in each case to the extent such actions, amendments,
supplements or modifications are generally inconsistent with the RSA; and it is further

        RESOLVED, that the Partnership be, and it hereby is, authorized, to the extent applicable,
to obtain the use of cash collateral, in such amounts and on such terms as may be agreed by any
Authorized Person, including the grant of replacement liens, as is reasonably necessary for the
continuing conduct of the affairs of the Partnership; and it is further
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        RESOLVED, that each Authorized Person be, and hereby is, authorized, directed and
empowered, with full power of delegation, to act in the name of the General Partner, for and on its
own behalf, and in the General Partner’s capacity as the sole general partner of the Partnership, for
and on behalf of the Partnership, to execute, verify and/or file, or cause to be filed and/or executed,
or verified (or direct others to do so on their behalf as provided herein), and to amend, supplement
or otherwise modify from time to time, all necessary or appropriate documents, including, without
limitation, petitions, affidavits, schedules, motions, lists, applications, pleadings and other
documents, agreements and papers, including all Credit Documents, and to take any and all actions
that the Authorized Person deems necessary or appropriate; each in connection with the Chapter
11 Case, the CCAA Case, any post-petition financing or any cash collateral usage contemplated
hereby; and it is further

        RESOLVED, that to the extent not already authorized by prior resolution, each Authorized
Person be, and hereby is, authorized, directed and empowered, to act in the name of the General
Partner, for and on its own behalf, and in the General Partner’s capacity as the sole general partner
of the Partnership, for and on behalf of the Partnership, to employ and retain the law firms of
Latham & Watkins LLP and Young Conaway Stargatt & Taylor, LLP to act as attorneys, Evercore
Group, L.L.C. to act as investment banker and financial advisor and FTI Consulting, Inc. to act as
financial advisor for the Partnership in connection with the Chapter 11 Case and to employ the law
firm Torys LLP to act as attorneys in the CCAA Case; and it is further

       RESOLVED, that each Authorized Person be, and hereby is, authorized, directed and
empowered, to act in the name of the General Partner, for and on its own behalf, and in the General
Partner’s capacity as the sole general partner of the Partnership, for and on behalf of the
Partnership, to employ and retain such further legal, restructuring, financial, accounting and
bankruptcy services firms (together with the foregoing identified firms, the “Professionals”) as
may be deemed necessary or appropriate by the Authorized Person to assist the General Partner
and the Partnership in carrying out their responsibilities in the Chapter 11 Case and the CCAA
Case and attempting to achieve a successful reorganization.
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General

        RESOLVED, that each Authorized Person be, and hereby is, authorized, with full power
of delegation, to act in the name of the General Partner, for and on its own behalf, and in the
General Partner’s capacity as the sole general partner of the Partnership, for and on behalf of the
Partnership, to take or cause to be taken any and all such further action and to execute and deliver
or cause to be executed or delivered, and to amend, supplement or otherwise modify from time to
time, all such further agreements, documents, certificates, statements, notices, undertakings and
other writings, and to incur and to pay or direct payment of all such fees and expenses, as in the
judgment of the Authorized Person shall be necessary, appropriate or advisable to effectuate the
purpose and intent of any and all of the foregoing resolutions; and it is further

        RESOLVED, that all acts lawfully done or actions lawfully taken by any Authorized
Person of the General Partner, acting in the name of the General Partner, for and on its own behalf,
and in the General Partner’s capacity as the sole general partner of the Partnership, for and on
behalf of the Partnership, or any of the Professionals as directed by any Authorized Person, in
connection with the Chapter 11 Case and CCAA Case or any proceedings related thereto, or any
matter related thereto, be, and hereby are, adopted, ratified, confirmed and approved in all respects
as the acts and deeds of the General Partner and of the Partnership, as applicable; and it is further

        RESOLVED, that any and all actions, whether previously or subsequently taken by any
Authorized Person or any other person authorized to act by an Authorized Person, that are
consistent with the intent and purpose of the foregoing resolutions or in connection with any
matters referred to herein, shall be, and the same hereby are, in all respects, ratified, approved and
confirmed; and it is further

       RESOLVED, that for the purposes of these resolutions, the term “Authorized Person”
shall mean and include those individuals with the following titles: (1) President, Chief Executive
Officer, (2) Vice President, Secretary and (3) Senior Vice President, Chief Financial Officer, in
each case acting in the name of the General Partner, for and on its own behalf, and in the General
Partner’s capacity as the sole general partner of the Partnership, for and on behalf of the
Partnership; and it is further

       RESOLVED, that the foregoing resolutions are intended to be as broad as legally
permissible so that no further resolutions shall be necessary to carry out the transactions and
matters contemplated herein; and it is further

       RESOLVED, that this Written Consent shall be filed in the minute book of the General
Partner and with the proceedings of the Partnership.

                                      [Signature page follows]
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                                                                     Case 20-11673-KBO                         Doc 1         Filed 06/23/20                   Page 11 of 19

 Fill in this information to identify the case:
   Debtor name: GNC Holdings, Inc., et. al .                                                                                                                                                 □ Check if this is an amended filing
   United States Bankruptcy Court for the: District of Delaware
   Case number (if known): TBD



 Modified Official Form 204

 Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                                                                                                                                   12/15

 The Debtor and its debtor affiliates (collectively, the "Debtors") each filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The following is a consolidated list of the Debtors' creditors holding the 30 largest
 unsecured claims based on the Debtors' books and records estimated as of the petition date. This list is prepared in accordance with Bankruptcy Rule 1007(d) for filing in these chapter 11 cases. The list does not include: (1) persons
 who come within the definition of "insider" set forth in section 101 of the Bankruptcy C24 Code; (2) secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the
 30 largest unsecured claims; or (3) claims held by the Debtors' employees. The information presented in the list below shall not constitute an admission of liability by, nor is binding on, the Debtors, and the failure to list a claim as
 contingent, unliquidated, disputed, or subject to setoff does not constitute a waiver of any of the Debtors' right to contest the validity, priority, or amount of any claim.


 Name of creditor and complete mailing address,            Name, telephone number, and email address of        Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
 including zip code                                        creditor contact                                    trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                               professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                               government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                             Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                         Unsecured Claim
                                                                                                                                                                           partially secured                       setoff

              THE BANK OF NEW YORK MELLON TRUST
              COMPANY, N.A.                                THE BANK OF NEW YORK MELLON TRUST COMPANY, N.A.
              ATTN: MINDY M. WRZESINSKI, SENIOR ANALYST,   ATTN: MINDY M. WRZESINSKI, SENIOR ANALYST, CLIENT
              CLIENT SERVICE                               SERVICE
 1                                                                                                                      NOTES PAYABLE                                                                                                       $157,899,413.00
              BNY MELLON CORPORATE TRUST                   PHONE: 412‐234‐7424
              US CORPORATE CLIENT SERVICE MANAGEMENT       FAX: 412‐234‐8377
              500 ROSS STREET, 12TH FLOOR                  EMAIL: MELINDA.M.WRZESINSKI@BNYMELLON.COM
              PITTSBURGH, PA 15262




              WOODBOLT DISTRIBUTION
                                                           WOODBOLT DISTRIBUTION
              ATTN: DOSS CUNNINGHAM, PRESIDENT AND
                                                           ATTN: DOSS CUNNINGHAM, PRESIDENT AND CEO
 2            CEO                                                                                                       TRADE PAYABLE                                                                                                         $4,853,286.39
                                                           PHONE: 800‐870‐2070
              3891 S TRADITIONS DR
                                                           EMAIL: CORPORATEAR@WOODBOLT.COM
              BRYAN, TX 77807



              SIMON PROPERTY GROUP
              ATTN: DAVID SIMON, CHAIRMAN OF THE
              BOARD, CHIEF EXECUTIVE OFFICER AND
              PRESIDENT                                    SIMON PROPERTY GROUP
              867675 RELIABLE PARKWAY                      ATTN: DAVID SIMON, CHAIRMAN OF THE
              CHICAGO, IL 60686‐0076                       BOARD, CHIEF EXECUTIVE OFFICER AND
 3                                                         PRESIDENT                                                      LANDLORD                                                                                                            $4,562,909.27
              SIMON PROPERTY GROUP                         PHONE: 317‐ 685‐7237
              ATTN: DAVID SIMON, CHAIRMAN OF THE           FAX: 317‐263‐7901
              BOARD, CHIEF EXECUTIVE OFFICER AND           EMAIL: 3172637091@SIMON.COM
              PRESIDENT
              225 WEST WASHINGTON STREET
              INDIANAPOLIS, IN 26204




Modified Official Form 204                                                           Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                     Page 1
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Debtor GNC Holdings, Inc., et. al.                                                                                                                                                                                    Case number (if known) TBD

 Name of creditor and complete mailing address,    Name, telephone number, and email address of       Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
 including zip code                                creditor contact                                   trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                      professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                      government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                    Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                Unsecured Claim
                                                                                                                                                                  partially secured                       setoff

               NUTRIVO LLC
               ATTN: MIKE AND TONY COSTELLO, CO‐
               FOUNDERS                            NUTRIVO LLC
               DBA RIVALUS NUTRITION               ATTN: MIKE AND TONY COSTELLO, CO‐FOUNDERS
 4                                                                                                             TRADE PAYABLE                                                                                                         $4,012,113.14
               1083 QUEEN STREET                   PHONE: 800‐620‐4177
               SUITE 221                           EMAIL: CGUMAN@NUTRIVO.COM
               HALIFAX, NS B3H 0B2
               CANADA



                                                   BROOKFIELD PROPERTY PARTNERS L.P.
               BROOKFIELD PROPERTY PARTNERS L.P.
                                                   ATTN: JARED CHUPAILA, CEO
               ATTN: JARED CHUPAILA, CEO
                                                   PHONE: 312‐960‐5000
 5             350 N. ORLEANS STREET                                                                             LANDLORD                                                                                                            $3,764,737.11
                                                   FAX: 312‐442‐6374
               SUITE 300
                                                   EMAIL:
               CHICAGO, IL 60654
                                                   JOSHUA.DECKELBAUM@BROOKFIELDPROPERTIESRETAIL.COM




               OPTIMUM NUTRITION INC
                                                   OPTIMUM NUTRITION INC
               ATTN: YUKI PHIPPS
                                                   ATTN: YUKI PHIPPS
 6             GLANBIA BUSINESS SERVICES INC                                                                   TRADE PAYABLE                                                                                                         $3,422,764.70
                                                   PHONE: 630‐256‐7415
               975 MERIDIAN LAKE DR
                                                   EMAIL: SSNAREMITTANCE@GLANBIA.COM
               AURORA, IL 60504




               LIFELONG NUTRITION INC
               ATTN: JULIE CHUDAK, OWNER           LIFELONG NUTRITION INC
               C/O SEROYAL INTERNATIONAL INC       ATTN: JULIE CHUDAK, OWNER
 7                                                                                                             TRADE PAYABLE                                                                                                         $3,143,221.35
               490 ELGIN MILLS RD EAST             FAX: 800‐722‐9953
               RICHMOND HILL, ON L4C 0L8           EMAIL: ACCOUNTSRECEIVABLE@SEROYAL.COM
               CANADA




               RESVITALE LLC
                                                   RESVITALE LLC
               ATTN: NAOMI WHITTEL, CEO
                                                   ATTN: NAOMI WHITTEL, CEO
 8             2255 GLADES ROAD                                                                                TRADE PAYABLE                                                                                                         $2,585,001.74
                                                   PHONE: 561‐353‐5401
               SUITE 342W
                                                   EMAIL: ACCOUNTSRECEIVABLE@RESERVEAGE.COM
               BOCA RATON, FL 33431




               JYM SUPPLEMENT SCIENCE              JYM SUPPLEMENT SCIENCE
               ATTN: DR. JIM STOPPANI, FOUNDER     ATTN: DR. JIM STOPPANI, FOUNDER
 9                                                                                                             TRADE PAYABLE                                                                                                         $2,308,093.67
               31356 VIA COLINAS #112              PHONE: 714‐756‐1185
               WEST LAKE VILLAGE, CA 91362         EMAIL: MIKE_MCERLANE@HOTMAIL.COM




Modified Official Form 204                                                   Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                    Page 2
                                                                  Case 20-11673-KBO                        Doc 1         Filed 06/23/20                   Page 13 of 19
Debtor GNC Holdings, Inc., et. al.                                                                                                                                                                                         Case number (if known) TBD

 Name of creditor and complete mailing address,         Name, telephone number, and email address of       Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
 including zip code                                     creditor contact                                   trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                           professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                           government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                         Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                     Unsecured Claim
                                                                                                                                                                       partially secured                       setoff

               JASPER PRODUCTS LLC
               ATTN: KEN HAUBEIN, PRESIDENT
               PO BOX 503776                            JASPER PRODUCTS LLC
               ST LOUIS, MO 64804                       ATTN: KEN HAUBEIN, PRESIDENT
 10                                                     PHONE: 417‐206‐3877; 417‐208‐1116                           TRADE PAYABLE                                                                                                         $1,942,771.06
               JASPER PRODUCTS LLC                      FAX: 417‐206‐3434
               ATTN: KEN HAUBEIN, PRESIDENT             EMAIL: JEANA.HARRIS@JASPERPRODUCTS.COM
               3877 E. 27TH STREET
               JOPLIN, MO 64804




               DAS LABS LLC
                                                        DAS LABS LLC
               ATTN: RYAN GARDNER, MANAGING PARTNER &
                                                        ATTN: RYAN GARDNER, MANAGING PARTNER & CEO
 11            CEO                                                                                                  TRADE PAYABLE                                                                                                         $1,941,436.18
                                                        PHONE: 801‐358‐3572
               313 SOUTH 740 EAST #3
                                                        EMAIL: RYAN@BUCKEDUP.COM
               AMERICAN FORK, UT 84003




               ADAPTIVE HEALTH LLC
                                                        ADAPTIVE HEALTH LLC
               ATTN: BRANDON ADCOCK, CO‐FOUNDER AND
                                                        ATTN: BRANDON ADCOCK, CO‐FOUNDER AND CEO
 12            CEO                                                                                                  TRADE PAYABLE                                                                                                         $1,797,132.50
                                                        PHONE: 704‐557‐0985
               615 S COLLEGE ST #1300
                                                        EMAIL: BRANDON@DIRECTDIGITALLLC.COM
               CHARLOTTE, NC 28202



               FEDEX
               ATTN: JOHN A. SMITH, PRESIDENT & CEO
               PO BOX 371461
                                                        FEDEX
               PITTSBURGH, PA 15250‐7461
                                                        ATTN: JOHN A. SMITH, PRESIDENT & CEO
 13                                                                                                                 TRADE PAYABLE                                                                                                         $1,459,464.00
                                                        PHONE: 800‐622‐1147; 901‐818‐7500
               FEDEX
                                                        EMAIL: DARA.RUPERT@FEDEX.COM
               ATTN: JOHN A. SMITH, PRESIDENT & CEO
               942 SOUTH SHADY GROVE ROAD
               MEMPHIS, TN 38120



                                                        BASIC RESEARCH
               BASIC RESEARCH
                                                        ATTN: BRAD STEWART, PRESIDENT AND CEO
               ATTN: BRAD STEWART, PRESIDENT AND CEO
 14                                                     PHONE: 801‐517‐7074                                         TRADE PAYABLE                                                                                                         $1,436,989.79
               5742 WEST HAROLD GATTY DR
                                                        FAX: 801‐517‐7002
               SALT LAKE CITY, UT 84116
                                                        EMAIL: AR@BASICRESEARCH.ORG




               REDCON1 LLC
                                                        REDCON1 LLC
               ATTN: AARON SINGERMAN, CEO, OWNER
                                                        ATTN: AARON SINGERMAN, CEO, OWNER
 15            701 PARK OF COMMERCE                                                                                 TRADE PAYABLE                                                                                                         $1,331,896.60
                                                        PHONE: 954‐551‐9038
               SUITE 100
                                                        EMAIL: STEPHANIE@REDCON1.COM
               BOCA RATON, FL 33487




Modified Official Form 204                                                         Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 3
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Debtor GNC Holdings, Inc., et. al.                                                                                                                                                                                          Case number (if known) TBD

 Name of creditor and complete mailing address,          Name, telephone number, and email address of       Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
 including zip code                                      creditor contact                                   trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                            professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                            government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                          Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                      Unsecured Claim
                                                                                                                                                                        partially secured                       setoff
               VPX SPORTS
               ATTN: JACK OWOC, OWNER, CEO & CSO
               PO BOX 740930                             VPX SPORTS
               ATLANTA, GA 30374‐0930                    ATTN: JACK OWOC, OWNER, CEO & CSO
 16                                                      PHONE: 954‐641‐0570                                         TRADE PAYABLE                                                                                                         $1,154,128.40
               VPX SPORTS                                FAX: 954‐641‐4960
               ATTN: JACK OWOC, OWNER, CEO & CSO         EMAIL: ACCOUNTS.RECEIVABLE@VPXSPORTS.COM
               1600 NORTH PARK DRIVE
               WESTON, FL 33326




               BPI SPORTS                                BPI SPORTS
               ATTN: WALT FREESE, PRESIDENT AND CEO      ATTN: WALT FREESE, PRESIDENT AND CEO
 17                                                                                                                  TRADE PAYABLE                                                                                                         $1,076,852.45
               3149 SW 42ND STREET                       PHONE: 954‐926‐0900
               HOLLYWOOD, FL 33312                       EMAIL: AR@BPISPORTS.NET




               VITAL PROTEINS
               ATTN: KURT SEIDENSTICKER, CEO
               29215 NETWORK PLACE
                                                         VITAL PROTEINS
               CHICAGO, IL 60673‐1292
                                                         ATTN: KURT SEIDENSTICKER, CEO
 18                                                                                                                  TRADE PAYABLE                                                                                                         $1,042,248.78
                                                         PHONE: 847‐232‐1713
               VITAL PROTEINS
                                                         EMAIL: AR@VITALPROTEINS.COM
               ATTN: KURT SEIDENSTICKER, CEO
               3400 WOLF RD
               FRANKLIN PARK, IL 60131




               NDS NUTRITION                             NDS NUTRITION
               ATTN: RYAN ZINK, PRESIDENT AND CO‐OWNER   ATTN: RYAN ZINK, PRESIDENT AND CO‐OWNER
 19                                                                                                                  TRADE PAYABLE                                                                                                         $1,038,573.76
               4509 S 143 ST STE 1                       PHONE: 402‐504‐3043
               OMAHA, NE 68137                           EMAIL: SKINNAMAN@FITLIFEBRANDS.COM




               GHOST LLC
                                                         GHOST LLC
               ATTN: PRESIDENT OR GENERAL COUNSEL
                                                         ATTN: PRESIDENT OR GENERAL COUNSEL
 20            4575 DEAN MARTIN DR                                                                                   TRADE PAYABLE                                                                                                         $1,032,607.20
                                                         PHONE: 979‐492‐6711
               SUITE 2200
                                                         EMAIL: PAUL@GHOSTLIFESTYLE.COM
               LAS VEGAS, NV 89103




               MYADERM INC                               MYADERM INC
               ATTN: ERIC SMART, CEO                     ATTN: ERIC SMART, CEO
 21                                                                                                                  TRADE PAYABLE                                                                                                           $970,830.37
               88 INVERNESS CIRCLE E UNIT A 101          PHONE: 303‐562‐4876
               ENGLEWOOD, CO 80112                       EMAIL: ACCOUNTING@MYADERM.COM




Modified Official Form 204                                                          Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 4
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Debtor GNC Holdings, Inc., et. al.                                                                                                                                                                                   Case number (if known) TBD

 Name of creditor and complete mailing address,   Name, telephone number, and email address of       Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
 including zip code                               creditor contact                                   trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                     professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                     government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                   Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                               Unsecured Claim
                                                                                                                                                                 partially secured                       setoff

               SONOMA NUTRACEUTICALS INC
               ATTN: MONTY SHARMA, CEO
               PO BOX 5
               STATION D
                                                  SONOMA NUTRACEUTICALS INC
               TORONTO, ON M1R 4Y7
                                                  ATTN: MONTY SHARMA, CEO
               CANADA
 22                                               PHONE: 416‐332‐1881; 416‐292‐8560                           TRADE PAYABLE                                                                                                           $945,477.28
                                                  EMAIL: AR@BODYPLUS.CA;
               SONOMA NUTRACEUTICALS INC
                                                  SCOTT@SONOMANUTRACEUTICALS.COM
               ATTN: MONTY SHARMA, CEO
               130 MCLEVIN AVE UNIT 4
               SCARBOROUGH, ON M1B 3R6
               CANADA


               FACEBOOK INC
               ATTN ACCOUNTS RECEIVABLE
               15161 COLLECTIONS CENTER DRIVE     FACEBOOK INC
               CHICAGO, IL 60693                  ATTN ACCOUNTS RECEIVABLE
 23                                               PHONE: 650‐543‐4800                                         TRADE PAYABLE                                                                                                           $860,000.00
               FACEBOOK INC                       FAX: 650‐543‐4801
               ATTN ACCOUNTS RECEIVABLE           EMAIL: AR@FB.COM
               1 HACKER WAY
               MENLO, CA 94025



                                                  NUTRAVAIL LLC
               NUTRAVAIL LLC
                                                  ATTN: RICHARD O'NEIL, CEO
               ATTN: RICHARD O'NEIL, CEO
 24                                               PHONE: 703‐222‐6340                                         TRADE PAYABLE                                                                                                           $844,259.71
               14790 FLINT LEE ROAD
                                                  FAX: 703‐961‐1835
               CHANTILLY, VA 20151
                                                  EMAIL: KCONNORS@NUTRAVAIL.COM




               GOOGLE INC
               ATTN: SUNDAR PICHAI, CEO
               PO BOX 39000
                                                  GOOGLE INC
               DEPT 33654
                                                  ATTN: SUNDAR PICHAI, CEO
               SAN FRANCISCO, CA 94139
 25                                               PHONE: 650‐253‐0000                                         TRADE PAYABLE                                                                                                           $830,000.00
                                                  FAX: 650‐253‐0001
               GOOGLE INC
                                                  EMAIL: COLLECTIONS‐US@GOOGLE.COM
               ATTN: SUNDAR PICHAI, CEO
               1600 AMPHITEATRE PARKWAY
               MOUNTAIN VIEW, CA 94043



               24‐7 INTOUCH INC
               ATTN: GREG FETTES, FOUNDER & CEO   24‐7 INTOUCH INC
               240 KENNEDY STREET                 ATTN: GREG FETTES, FOUNDER & CEO
 26                                                                                                           TRADE PAYABLE                                                                                                           $750,000.00
               2ND FLOOR                          PHONE: 204‐318‐3040
               WINNIPEG, MB R3C 1T1               EMAIL: SHARON.INES@24‐7INTOUCH.COM
               CANADA




Modified Official Form 204                                                   Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 5
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Debtor GNC Holdings, Inc., et. al.                                                                                                                                                                                    Case number (if known) TBD

 Name of creditor and complete mailing address,     Name, telephone number, and email address of      Nature of the claim(for example,   Indicate if claim is   Amount of unsecured claim
 including zip code                                 creditor contact                                  trade debts, bank loans,           contingent,            If the claim is fully unsecured, fill in only unsecured claim amount. If claim is
                                                                                                      professional services, and         unliquidated, or       partially secured, fill in total claim amount and deduction for value of
                                                                                                      government contracts)              disputed               collateral or setoff to calculate unsecured claim.
                                                                                                                                                                    Total claim, if      Deduction for value of collateral or
                                                                                                                                                                                                                                Unsecured Claim
                                                                                                                                                                  partially secured                       setoff
               HORMEL FINANCIAL SERVICES
               ATTN: JIM SNEE, PRESIDENT AND CEO
               PO BOX 93624                         HORMEL FINANCIAL SERVICES
               CHICAGO, IL 60673‐3624               ATTN: JIM SNEE, PRESIDENT AND CEO
 27                                                 PHONE: 507‐437‐5634                                        TRADE PAYABLE                                                                                                           $748,512.42
               HORMEL FINANCIAL SERVICES            FAX: 507‐437‐5489
               ATTN: JIM SNEE, PRESIDENT AND CEO    EMAIL: INTERNATIONALBACK‐UP@HORMEL.COM
               1 HORMEL PL
               AUSTIN , MN 55912



               HERBAL BRANDS INC
                                                    HERBAL BRANDS INC
               ATTN: PRESIDENT OR GENERAL COUNSEL
                                                    ATTN: PRESIDENT OR GENERAL COUNSEL
 28            1430 W AUTO DR                                                                                  TRADE PAYABLE                                                                                                           $740,763.26
                                                    PHONE: 602‐680‐1658
               SUITE 109
                                                    EMAIL: VICKI.RICHARDS@HERBALBRANDS.COM
               TEMPE, AZ 85284




               HYBRID PROMOTIONS LLC                HYBRID PROMOTIONS LLC
               ATTN: PRESIDENT OR GENERAL COUNSEL   ATTN: PRESIDENT OR GENERAL COUNSEL
 29                                                                                                            TRADE PAYABLE                                                                                                           $728,279.50
               10711 WALKER STREET                  PHONE: 714‐952‐3866
               CYPRESS, CA 90630                    EMAIL: LVALENCIA@HYBRIDAPPAREL.COM




               COMMISSION JUNCTION LLC
               ATTN: MAYURESH KSHETRAMADE, CEO
               4140 SOLUTIONS CENTER
                                                    COMMISSION JUNCTION LLC
               CHICAGO, IL 60677‐4001
                                                    ATTN: MAYURESH KSHETRAMADE, CEO
 30                                                                                                            TRADE PAYABLE                                                                                                           $720,000.00
                                                    PHONE: 805‐830‐8174; 800‐761‐1072
               COMMISSION JUNCTION LLC
                                                    EMAIL: CJAR@CJ.COM
               ATTN: MAYURESH KSHETRAMADE, CEO
               530 E MONTECITO ST
               SANTA BARBARA, CA 93103




Modified Official Form 204                                                    Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                                   Page 6
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          ) Chapter 11
                                                                )
GNC HOLDINGS, INC., et al.,                                     ) Case No. 20-_______ (___)
                                                                )
                Debtors.1                                       ) (Joint Administration Requested)
                                                                )
                                                                )

              CONSOLIDATED LIST OF EQUITY INTEREST HOLDERS AND
                CORPORATE OWNERSHIP STATEMENT PURSUANT TO
                 BANKRUPTCY RULES 1007(a)(1), 1007(a)(3), AND 7007.1


         Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of Bankruptcy

Procedure, the above-captioned debtors and debtors in possession (each, a “Debtor”) hereby state

as follows:


         1.      Debtor GNC Holdings, Inc., whose address is 300 Sixth Avenue, Pittsburgh,
                 Pennsylvania 15222, is the sole member of Debtor GNC Parent LLC.

         2.      Debtor GNC Parent LLC, whose address is 300 Sixth Avenue, Pittsburgh,
                 Pennsylvania 15222, owns 100% of the equity interests in Debtor GNC
                 Corporation.

         3.      Debtor GNC Corporation, whose address is 300 Sixth Avenue, Pittsburgh,
                 Pennsylvania 15222, owns 100% of the equity interests in Debtor General Nutrition
                 Centers, Inc.

         4.      Debtor General Nutrition Centers, Inc., whose address is 300 Sixth Avenue,
                 Pittsburgh, Pennsylvania 15222, owns 100% of the equity interests in Debtors:

                          a) General Nutrition Corporation;


1
    The Debtors in these Chapter 11 Cases, along with the last four digits of each debtor’s United States federal tax
    identification number, if applicable, or other applicable identification number, are: GNC Holdings, Inc. (6244);
    GNC Parent LLC (7572); GNC Corporation (5170); General Nutrition Centers, Inc. (5168); General Nutrition
    Corporation (4574); General Nutrition Investment Company (3878); Lucky Oldco Corporation (7141); GNC
    Funding, Inc. (7837); GNC International Holdings, Inc. (9873); GNC China Holdco LLC (0004); GNC
    Headquarters LLC (7550); Gustine Sixth Avenue Associates, Ltd. (0731); GNC Canada Holdings, Inc. (3879);
    General Nutrition Centres Company (0939); GNC Government Services, LLC (2295); GNC Puerto Rico
    Holdings, Inc. (4559), and GNC Puerto Rico, LLC (7234). The Debtors’ mailing address is 300 Sixth Avenue,
    Pittsburgh, Pennsylvania 15222.
     Case 20-11673-KBO      Doc 1    Filed 06/23/20    Page 18 of 19


            b) Lucky Oldco Corporation;

            c) General Nutrition Investment Company;

            d) GNC Funding, Inc.;

            e) GNC International Holdings, Inc.;

            f) GNC China Holdco LLC.; and

            g) GNC Headquarters LLC.

5.   Debtor General Nutrition Centers, Inc., whose address is 300 Sixth Avenue,
     Pittsburgh, Pennsylvania 15222, owns 75% of the equity interests in Debtor
     Gustine Sixth Ave Associates, Ltd. Debtor GNC Headquarters LLC, whose
     address is 300 Sixth Avenue, Pittsburgh, Pennsylvania 15222, owns 25% of the
     equity interests in Debtor Gustine Sixth Ave Associates, Ltd.

6.   Debtor General Nutrition Corporation, whose address is 300 Sixth Avenue,
     Pittsburgh, Pennsylvania 15222, owns 100% of the equity interests in Debtors:

            a) GNC Government Services, LLC; and

            b) GNC Puerto Rico Holdings, Inc.;

7.   Debtor GNC Puerto Rico Holdings, Inc., whose address is 300 Sixth Avenue,
     Pittsburgh, Pennsylvania 15222, owns 70% of the equity interests in Debtor GNC
     Puerto Rico, LLC.

8.   Debtor GNC International Holdings, Inc., whose address is 300 Sixth Avenue,
     Pittsburgh, Pennsylvania 15222, owns 100% of the equity interests in Debtor GNC
     Canada Holdings, Inc.

9.   Debtor GNC Canada Holdings, Inc., whose address is 300 Sixth Avenue,
     Pittsburgh, Pennsylvania 15222, owns 100% of the equity interests in Debtor
     General Nutrition Centres Company.
                                Case 20-11673-KBO                    Doc 1       Filed 06/23/20               Page 19 of 19


    Fill in this information to identify the case:
    Debtor name            Gustine Sixth Avenue Associates, Ltd.

    United States Bankruptcy Court for
    the:                                        DISTRICT OF DELAWARE

    Case number (if
    known)

                                                                                                                                 Check if this is an
                                                                                                                                 amended filing


 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15


 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
 for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
 the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
 and 3571.

              Declaration and signature


 I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
 serving as a representative of the debtor in this case.

 I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
         Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         Schedule H: Codebtors (Official Form 206H)
         Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         Amended Schedule
         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         Other document that requires a declaration       Consolidated List of Equity Interest Holders Corporate Ownership
                                                          Statement Pursuant to Bankruptcy Rules 1007(a)(1), 1007(a)(3), and 7007.1
   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on           06/23/2020                       /s/ Tricia Tolivar
                                                        Signature of individual signing on behalf of debtor

                                                         Tricia Tolivar
                                                        Printed name

                                                         Authorized Signatory
                                                        Position or relationship to debtor




Official Form 202                     Declaration Under Penalty of Perjury for Non-Individual Debtors
